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     Exhibit 407
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May 23, 2021

Via E-mail: SShackelford@susmangodfrey.com

Stephen Shackelford, Jr.
Susman Godfrey L.L.P.
1301 Avenue of the Americas - 32nd Floor
New York, NY 10019-6023

RE:       Dominion’s role in the 2020 Presidential Election

Dear Mr. Shackelford:

I am responding to your May 12, 2021 letter to Eric Early; in the future, please direct all commu-
nications concerning OAN’s news coverage of Dominion’s role in the 2020 Presidential Election
to me, and not Mr. Early.

                                     The ball is still in your court

I will begin with where you left off in your letter to Mr. Early: “The ball is in your court.” I respect-
fully disagree, for I do not believe you have yet to get the ball over the net.

The central thesis of your letter is that OAN engaged in reporting which you describe as
“shameful, utterly self-serving, and unethical.” While I disagree with your characterization of
OAN’s reporting, that disagreement is irrelevant in the face of one simple point of law: The First
Amendment protects offensive and “shameful” journalism.

As Chief Justice Rehnquist explained in the Hustler case, the more offensive speech is, the
more it should be protected.

          “[T]he fact that society may find speech offensive is not a sufficient reason for
          suppressing it. Indeed, if it is the speaker's opinion that gives offense, that conse-
          quence is a reason for according it constitutional protection. For it is a central
          tenet of the First Amendment that the government must remain neutral in the
          marketplace of ideas.”

Hustler Mag., Inc. v. Falwell, 485 U.S. 46, 55–56 (1988) (quoting FCC v. Pacifica Foundation,
438 U.S. 726, 745-46 (1978)).

Your “shameful reporting” argument, therefore, does not get the ball over the First Amendment’s
net.

                                      The marketplace of ideas

Chief Justice Rehnquist’s reference in the Hustler case to the “marketplace of ideas” is particu-
larly apt regarding a discussion of the 2020 Presidential election. Just as capitalism flourishes in
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a competitive marketplace in which the best products and services can thrive, truth flourishes in
a similar marketplace of ideas. “It is the purpose of the First Amendment to preserve an uninhib-
ited marketplace of ideas in which truth will ultimately prevail ….” Red Lion Broad. Co. v. F.C.C.,
395 U.S. 367, 390 (1969).

In accord with that bedrock principle of First Amendment law, OAN previously invited Dominion
to participate in a nationally-televised forum to present its side of all issues relating to its involve-
ment in the 2020 Presidential election. OAN even offered Dominion certain editorial control be-
fore the forum aired. It is my understanding that Dominion rejected that offer.

As a long-time First Amendment lawyer, I am a firm believer in the marketplace of ideas. Ac-
cordingly, I do not want to give up on the forum and am prepared to sweeten OAN’s offer: OAN
will agree to co-host the forum with another media platform of Dominion’s choosing, whether it
be CNN, MSNBC, etc.

                                             Mike Lindell

You spend most of your letter discussing OAN’s airing of Mike Lindell’s paid programming. What
you don’t include, however, is the prominent disclaimer at the beginning of these specials:




When read in this context, OAN’s decision to air Mr. Lindell’s paid programming is a legitimate
aspect of OAN’s commitment to nourishing the marketplace of ideas. And it can never be more
important to allow that marketplace to proceed uninhibited than when discussions center on the
2020 Presidential election.

As the Supreme Court has repeatedly held, “speech concerning public affairs is more than self-
expression; it is the essence of self-government.” Garrison v. State of La., 379 U.S. 64, 74–75
(1964). Speech concerning political affairs “occupies the ‘highest rung of the hierarchy of First
Amendment values,’ and is entitled to special protection.” Connick v. Myers, 461 U.S. 138, 145
(1983) (quoting NAACP v. Claiborne Hardware Co., 458 U.S. 886, 913 (1982)).
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And the Supreme Court has reminded us that while debate on such topics can be “vehement,
caustic, and sometimes [include] unpleasantly sharp attacks,” what you call “shameful” speech
is nevertheless protected because of our “profound national commitment to the principle that de-
bate on public issues should be uninhibited, robust, and wide-open.” New York Times Co. v.
Sullivan, 376 U.S. 254, 270 (1964)).

As such, OAN is fully protected under the First Amendment to broadcast Mr. Lindell’s opinions,
just as OAN (and the media outlet of your choice) will be protected under the First Amendment
to broadcast Dominion’s rebuttal of Mr. Lindell’s opinions in the upcoming forum.

On the few occasions in which you do discuss Mr. Lindell’s appearances on OAN’s own pro-
gramming, the context of many of Mr. Lindell’s statements appears to have been disregarded.
For example, while Mr. Lindell did express his opinion that the 2020 Presidential election was a
“crime against humanity,” he does not mention Dominion in that statement.

And while on that topic, it should not be forgotten that such rhetorical hyperbole—in which Mr.
Lindell is wont to engage—is constitutionally protected. My favorite case in that regard is a Colo-
rado case in which the court held that the defendant was constitutionally entitled to refer to the
plaintiff as having “slimed up from the bayou.” Henderson v. Times Mirror Co., 669 F. Supp.
356, 358 (D. Colo. 1987), aff'd, 876 F.2d 108 (10th Cir. 1989).

I like that case so much not because of the figurative language, but because of the depth of
analysis the court engaged in before finding in favor of the defendant, going so far as to quote
Thomas Jefferson:

       “The basis of our government being the opinion of the people, the very first object
       should be to keep that right; and were it left to me to decide whether we should
       have a government without newspapers, or newspapers without a government, I
       should not hesitate a moment to prefer the latter.” Letter to Colonel Edward Car-
       rington (January 16, 1787).

Id.

                                     Lack of actual malice

Opinions, of course, cannot be false—because they are one’s opinions. Thus, there is no “right”
answer to the question of whether Michael Jordan or Lebron James is the GOAT. If, however,
someone was to say that Michael B. Jordan (the actor) is the GOAT over James, that is false.

But even false speech is protected by the First Amendment. As the Supreme Court held in the
seminal case of New York Times v. Sullivan, “erroneous statement is inevitable in free debate,
and … it must be protected if the freedoms of expression are to have the ‘breathing space’ that
they ‘need … to survive.’” 376 U.S. at 271–72 (quoting NAACP v. Button, 371 U.S. 415, 433
(1963). Thus, the Court held in Sullivan that even false statements on matters of public interest
are protected by the First Amendment unless the speaker acted with actual malice, i.e., either
knew the information was false or acted with reckless disregard for whether it was true or false.

The Supreme Court has repeatedly held that actual malice is a subjective standard that requires
a plaintiff to prove—by clear and convincing evidence—that the speaker in fact had serious
doubts about the truth of the statements he or she made.
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       These cases are clear that reckless conduct is not measured by whether a rea-
       sonably prudent man would have published, or would have investigated before
       publishing. There must be sufficient evidence to permit the conclusion that the
       defendant in fact entertained serious doubts as to the truth of his publication.

St. Amant v. Thompson, 390 U.S. 727, 731 (1968).

In your letter, you fail to identify any facts that OAN was aware of which would have put OAN on
notice of the falsity of these underlying facts. Instead, you merely insist to Mr. Early that “OAN,
its on-air talent, its executives, its ownership, and even you (their lawyer) know that these are
lies.”

The only basis you assert for this claim is “Dominion’s multiple letters” to OAN. But a news or-
ganization’s continued reporting in the face of such chest-thumping denials does not constitute
actual malice.

       Of course, the press need not accept “denials, however vehement; such denials
       are so commonplace in the world of polemical charge and countercharge that, in
       themselves, they hardly alert the conscientious reporter to the likelihood of error.”

Harte-Hanks Commc'ns, Inc. v. Connaughton, 491 U.S. 657, 692 n.37 (1989) (quoting Edwards
v. Nat'l Audubon Soc., Inc., 556 F.2d 113, 121 (2d Cir. 1977)).

                                    Your misplaced comment

Finally, I would be remiss if I did not address your statement that “lives have even been lost[] as
a result of these lies that OAN continues to endorse and propagate to this day.” You never ex-
plain what lives you are referring to, but I assume you are referring to the lives lost as a result of
the activities at the U.S. Capitol on January 6.

But you say elsewhere in your letter that “OAN has willingly and knowingly provided Lindell with
its platform to falsely defame Dominion almost a dozen times since the end of January.”

It is, of course, impossible for statements made “since the end of January” to have caused any-
one to die as result of what occurred at the Capitol on January 6.

                                             Conclusion

As I said earlier, I do not want to give up on the forum. I think I have been creative in my new
proposal, and I encourage you to do the same.

As you say, the ball is now in your court.
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Best regards,

Lathrop GPM LLP




Bernard J. Rhodes
Partner




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